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                                                        December 18, 2024
      VIA ECF

      Hon. Julien Xavier Neals, U.S.D.J.
      Hon. Leda Dunn Wettre, U.S.M.J.
      Martin Luther King Bldg. & U.S. Courthouse
      50 Walnut Street
      Newark, New Jersey 07102

                  Re:    In re: Apple Inc. Smartphone Antitrust Litigation,
                         Civil Action No. 2:24-md-03113

      Dear Judge Neals and Judge Wettre:

             I am writing in connection with the pending motions under Rule 23(g) of the Federal Rules.
      I am pleased to report that, with the assistance and dedication of Magistrate Judge Wettre, the
      Group 1 and Group 2 Direct Purchaser Plaintiffs have reached a proposed consensual structure
      regarding the Direct Purchaser Plaintiffs’ leadership. I have enclosed a form of order which
      memorializes the Direct Purchaser Plaintiffs’ agreement. If the outlined structure is acceptable to
      the Court it will obviate the need for further motion practice or discussions regarding this issue.
      As such, if the order meets with Your Honor’s approval, we ask that it be executed and returned
      as “So-Ordered” on the Court’s electronic docket.

             We appreciate the Court’s consideration of this request and for its continued attention to
      this matter. Of course should Your Honor have any questions, we are available at your
      convenience.

                                                       Respectfully submitted,

                                                   CARELLA BYRNE CECCHI
                                                   BRODY & AGNELLO, P.C.

                                                        /s/ James E. Cecchi
                                                        JAMES E. CECCHI

      cc:         Counsel of Record (via ECF)
